              IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                              AT KNOXVILLE




UNITED STATES OF AMERICA                      )
                                              )
v.                                            )     No. 3:08-CR-26
                                              )
STEVEN WAYNE WOOD                             )


                                     ORDER


              This criminal case is before the court on the report and

recommendation of magistrate judge H. Bruce Guyton [doc. 80] that the

defendant’s motion to suppress his statements to law enforcement officers be

denied. Neither the defendant nor the government have filed any objections to

the report and recommendation, and no transcript of the suppression hearing has

been prepared.

              Under 28 U.S.C. § 636(b), a de novo review by the district court of a

magistrate judge's report and recommendation is both statutorily and

constitutionally required. See United States v. Shami, 754 F.2d 670, 672 (6th Cir.

1985). However, it is necessary only to review "those portions of the report or

specified proposed findings or recommendations to which objection is made." 28

U.S.C. § 636(b); see also United States v. Campbell, 261 F.3d 628, 631-32 (6th

Cir. 2001).




Case 3:08-cr-00026-TAV-JEM      Document 85 Filed 01/29/09      Page 1 of 2   PageID
                                      #: 232
            The court has reviewed de novo the report and recommendation, the

pleadings and the exhibits to the suppression hearing and ADOPTS the findings

of fact and conclusions of law set out in the report and recommendation. The

court notes that the defendant admitted that he signed a waiver of rights form,

and no evidence was adduced at the hearing that any officer told the defendant

that his statement would be “off the record.” Therefore, it is hereby ORDERED

that the defendant’s motion to suppress his statements to law enforcement

officers [doc. 53] is DENIED.



                                            ENTER:



                                                   s/ Leon Jordan
                                            United States District Judge




                                        2


Case 3:08-cr-00026-TAV-JEM      Document 85 Filed 01/29/09    Page 2 of 2   PageID
                                      #: 233
